Case 1:01-cv-12257-PBS Document 7759-1 Filed 08/22/11 Page 1 of 4




          EXHIBIT “A”
                                                   Case 1:01-cv-12257-PBS Document 7759-1 Filed 08/22/11 Page 2 of 4


Baxter2 Advate Medicaid Utilization by YEAR

                                                      Amt         Pharmacy
                     Units           Total         Reimbursed     Acquisition      Should Have                                                  Advate Units Reimbursed
     Year         Reimbursed     Reimbursement      Per Unit     Cost (per I.U.)   Reimbursed      Single Damages
                                                                                                                    200,000,000
     2003           3,457,444          5,035,584          1.46              1.05       3,630,316        1,405,268
     2004          30,969,550         41,625,740          1.34              0.94      29,111,377       12,514,363   180,000,000
     2005          57,018,920         70,042,139          1.23              0.90      51,317,028       18,725,111   160,000,000
     2006           77,305,973        96,266,305          1.25              0.93      71,894,555       24,371,750   140,000,000
     2007          98,016,680        114,012,387          1.16              0.94      92,135,679       21,876,708
                                                                                                                    120,000,000
      2008         124,281,367       146,345,949          1.18              0.92     114,338,857       32,007,091
      2009         137,815,855       164,287,508          1.19              0.93     128,168,746       36,118,763   100,000,000                                             Advate Units Reimbursed
      2010         166,647,921       195,251,104          1.17              0.92     153,316,087       41,935,016    80,000,000                                             Linear (Advate Units Reimbursed)
 half 2011 proj     95,000,000       112,000,000          1.18              0.93      88,350,000       23,650,000
                                                                                                                     60,000,000
     Total         528,865,789       637,615,612          1.21                       732,262,645      212,604,070
                                                                                                                     40,000,000

Should Have Reimbursed = Pharmacy Acquisition Cost x Units Reimbursed                                                20,000,000
Single Damages = Total Reimbursement - Should Have Reimbursed                                                                 -
                                                                                                                                  2003 2004 2005 2006 2007 2008 2009 2010
Values in RED are projected and estimations.


                                                                                                                                                 Advate Amt Reimbursed
                                                                                                                    250,000,000



                                                                                                                    200,000,000



                                                                                                                    150,000,000

                                                                                                                                                                             Advate Amt Reimbursed
                                                                                                                    100,000,000                                              Linear (Advate Amt Reimbursed)



                                                                                                                     50,000,000



                                                                                                                              -
                                                                                                                                  2003 2004 2005 2006 2007 2008 2009 2010
                                                     Case 1:01-cv-12257-PBS Document 7759-1 Filed 08/22/11 Page 3 of 4


Baxter2 Recombinate Medicaid Utilization by YEAR



                                                                 Pharmacy                                                             Recombinate Units Reimbursed
                      Units            Total     Amt Reimbursed  Acquisition Should Have      Single
      Year         Reimbursed      Reimbursement     Per Unit   Cost (per I.U.) Reimbursed   Damages     160,000,000

      2003          147,170,087       174,122,215              1.18       0.89 130,981,377 43,140,837    140,000,000
      2004          128,781,255       143,497,553              1.11       0.90 115,903,130 27,594,424
      2005          118,940,838       121,279,610              1.02       0.86 102,289,121 18,990,489    120,000,000
      2006          106,006,510        115,511,133             1.09       0.91 96,465,924 19,045,209
                                                                                                         100,000,000
      2007           88,347,429        97,614,525              1.10       0.92 81,279,634 16,334,891
                                                                                                                                                                                Recombinate Units Reimbursed
       2008           78,688,362        90,702,769             1.15       0.89 70,032,642 20,670,127      80,000,000
       2009           58,747,974        68,554,984             1.17       0.88 51,698,218 16,856,766
                                                                                                                                                                                Linear (Recombinate Units
       2010           46,571,575        54,987,254             1.18       0.91 42,380,133 12,607,121      60,000,000
                                                                                                                                                                                Reimbursed)
  half 2011 proj      16,500,000        19,500,000             1.18       0.88 14,520,000    4,980,000
                                                                                                          40,000,000
      Total         789,754,030       885,770,043                              705,550,179 180,219,864
                                                                                                          20,000,000
Should Have Reimbursed = Pharmacy Acquisition Cost x Units Reimbursed
Single Damages = Total Reimbursement - Should Have Reimbursed                                                      -
                                                                                                                       2003   2004   2005   2006   2007   2008   2009   2010
Values in RED are projected and estimations.


                                                                                                                                       Recombinate Amt Reimbursed
                                                                                                         200,000,000
                                                                                                         180,000,000
                                                                                                         160,000,000
                                                                                                         140,000,000
                                                                                                         120,000,000
                                                                                                                                                                                 Recombinate Amt Reimbursed
                                                                                                         100,000,000
                                                                                                          80,000,000                                                             Linear (Recombinate Amt
                                                                                                                                                                                 Reimbursed)
                                                                                                          60,000,000
                                                                                                          40,000,000
                                                                                                          20,000,000
                                                                                                                   -
                                                                                                                       2003   2004   2005   2006   2007   2008   2009    2010
                                               Case 1:01-cv-12257-PBS Document 7759-1 Filed 08/22/11 Page 4 of 4


Baxter2 Gammagard Medicaid Utilization by YEAR

                                                      Amt            Pharmacy
                    Units            Total         Reimbursed     Acquisition Cost Should Have     Single                    Gammagard Units Reimbursed
     Year        Reimbursed      Reimbursement      Per Unit         (per I.U.)    Reimbursed     Damages
                                                                                                               600,000
     1999              263,866         8,038,842          30.47             44.50    11,742,046   -3,703,204
     2000              358,669         8,413,337          23.46             47.50    17,036,759   -8,623,422
                                                                                                               500,000
     2001              116,675         5,295,754          45.39             49.70     5,798,746     -502,991
     2002               95,129        11,748,698         123.50             47.00     4,471,084    7,277,614
                                                                                                               400,000
     2003              107,971        15,278,040         141.50             38.00     4,102,907   11,175,133
     2004              202,120        18,975,438          93.88             42.00     8,489,044   10,486,394                                        Gammagard Units Reimbursed
                                                                                                               300,000
     2005              347,310        21,922,659          63.12             45.00    15,628,968    6,293,692
     2006              477,381        23,836,995          49.93             58.00    27,688,107   -3,851,111                                        Linear (Gammagard Units
                                                                                                               200,000
     2007              403,409        22,318,100          55.32             61.50    24,809,654   -2,491,554                                        Reimbursed)
     2008              326,502        28,363,832          86.87             66.24    21,627,515    6,736,317
                                                                                                               100,000
     2009              415,226        34,892,192          84.03             69.50    28,858,207    6,033,985
     2010              459,720        37,035,487          80.56             67.50    31,031,097    6,004,390
                                                                                                                     0
half 2011 proj         230,000        19,000,000          82.61             68.00    15,640,000    3,360,000
     Total           3,803,979       255,119,373          67.07                     216,924,132   38,195,241

Should Have Reimbursed = Pharmacy Acquisition Cost x Units Reimbursed
Single Damages = Total Reimbursement - Should Have Reimbursed
                                                                                                                             Gammagard Amt Reimbursed
Values in RED are projected and estimations.
                                                                                                               40,000,000
                                                                                                               35,000,000
                                                                                                               30,000,000
                                                                                                               25,000,000
                                                                                                                                                    Gammagard Amt Reimbursed
                                                                                                               20,000,000
                                                                                                               15,000,000
                                                                                                                                                    Linear (Gammagard Amt
                                                                                                               10,000,000                           Reimbursed)

                                                                                                                5,000,000
                                                                                                                         0
